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                                     REDACTED VERSION OF
                                     DOCUMENT SOUGHT TO BE
                                     SEALED


                    Exhibit 7
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 party payment provisions), 54 (concerning business and strategic plans or presentations related to
 competition), 65-70 (concerning Apple’s retaliation against Epic), 32-38, 43-44, 65-66
 (concerning App Store Review Guidelines created or modified after August 13, 2020), 71-78, 80
 (concerning the App Store Small Business Program), and 81 (concerning Amazon’s hotfix).
 (See Epic’s 12/15/20 Letter at 4-5.) Please provide Apple’s position before December 27, 2020.

                 Fifth, Epic understands that Apple is and will be searching for agreements and
 similar documents at Apple Inc. affiliates if such affiliate is the proper contracting party for
 agreements or similar documents called for by an Epic RFP, and that Apple has not withheld and
 will not withhold any documents based on General Objection No. 14 (concerning Apple
 affiliates). (See Epic’s 12/15/20 Letter at 5.) Please confirm Epic’s understanding before
 December 27, 2020.

                 Sixth, Epic understands that Apple is searching for documents concerning the
 Amazon hotfix and will report back on its findings. Please confirm Epic’s understanding before
 December 27, 2020. With respect to Epic’s Request No. 67 (concerning hotfixes more broadly),
 Apple stated that it stands on its objection because Apple believes that hotfixes that are intended
 to fix bugs in an application but that do not introduce new functionality are not objectionable.
 Based on Apple’s position, Epic is willing to limit Request No. 67 to documents concerning
 hotfixes that introduce new functionality into an application, and asks that Apple reconsider its
 objection in light of this significant narrowing of Epic’s request. (See Epic’s 12/15/20 Letter
 at 5-6.) Please provide Apple’s response before December 27, 2020.

                Seventh, Epic understands that Apple will inquire whether Apple ID may be used
 outside of iOS, and will inform Epic of the results of its inquiry (see Apple, “Sign in with
 Apple”, https://developer.apple.com/sign-in-with-apple/ (Sign in with Apple “Works
 everywhere.”)), as well as whether Apple will produce documents responsive to Epic’s Request
 No. 51 (concerning Apple ID). (See Epic’s 12/15/20 Letter at 6.) Please confirm Apple’s
 position before December 27, 2020.

II.   Epic’s Data Requests for Production

                With respect to Epic’s data requests for production:

                 Sales of Apple devices and accessories (Request Nos. 3-4): Apple stated that it
 likely has produced these data for iPhones, iPads and iPod touches, but was unable to provide
 Epic with the relevant Bates number(s) of these data, which Epic had asked for in a prior meet
 and confer on December 14, 2020. Epic reiterated its request and Apple stated it will consider
 providing the corresponding Bates number(s). Please provide the Bates number(s) before
 December 27, 2020. Epic understands that Apple will inform Epic as to whether it will produce
 these data for any of the other devices or accessories listed in Request Nos. 3 or 4. Please so
 inform Epic before December 27, 2020.

                 IAP and third-party settlement providers (Request Nos. 5-6, 19): With respect to
 data reflecting revenue from IAP, Apple stated that it will produce such data as part of the
 transactional data production in the Cameron and Pepper actions. Apple confirmed that these
 transactional data concern only U.S. transactions, and Epic responded that it requires worldwide

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               Apple’s “installed base” (Request Nos. 25, 31): Apple stated that it is unsure
whether it documents how it calculates its “installed base”. Epic understands that Apple will
inquire as to what responsive documents and data exist in non-custodial sources, will inform
Epic of the results of its inquiry, and will produce responsive documents and data to the extent
they exist. Please confirm Epic’s understanding before December 27, 2020.

               Apple customers who own or use multiple Apple products (Request Nos. 26-28):
Apple stated that it is not sure that it tracks these data, and that providing them may be
burdensome if they exist. Epic understands that Apple will inquire as to what responsive data
exist in non-custodial sources, will inform Epic of the results of its inquiry, and will produce
responsive data to the extent they exist. Please confirm Epic’s understanding before
December 27, 2020.

              Payments made using an Apple ID by means other than IAP (Request No. 29):
Epic understands that Apple will inquire as to what data exist in non-custodial sources, will
inform Epic of the results of its inquiry, and will produce responsive data to the extent they exist.
Please confirm Epic’s understanding before December 27, 2020.

                Spending through IAP and Apple’s commissions from IAP (Request No. 30):
Epic understands that Apple will inquire as to what responsive data exist in non-custodial
sources, will inform Epic of the results of its inquiry, and will produce responsive data to the
extent they exist. Please confirm Epic’s understanding before December 27, 2020.

              Commissions charged for the distribution of apps or in-app purchases on the
Google Play Store and the Epic Games Store (Request No. 52): Epic understands that Apple will
produce responsive documents to the extent such documents appear in its custodial searches.
Please confirm Epic’s understanding before December 27, 2020.

                Impact of App Store Small Business Program on Apple financials (Request
No. 79): Epic understands that Apple will inquire as to what responsive data exist in non-
custodial sources, will inform Epic of the results of its inquiry, and will produce responsive data
to the extent they exist. Please confirm Epic’s understanding before December 27, 2020.


                                                ***

                 As we explained at the meet and confer, Apple must provide its final positions
promptly. Epic served its first set of document requests on October 23, 2020. Two months later,
Apple has few answers about whether it will produce critical data. The deadline for “Completion
of . . . data production” is January 6, 2021. (Dkt. 103.) This is not a deadline for substantial
completion—Apple must entirely complete its data production by January 6, or Epic will be




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prejudiced in its efforts to submit opening expert reports by the deadline of February 15, 2021.
(Dkt. 116.) Epic reserves all rights and waives none.


                                                 Sincerely,



                                                 s/ Yonatan Even

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